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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


Alliance for Retired Americans, et
al.,

          Plaintiffs,

            v.                                Civil Action No. 25-313 (CKK)

Scott Bessent, in his official
capacity as Secretary of the
Treasury, et al.,

          Defendants.


                 PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM
                 REGARDING THE ADMINISTRATIVE RECORD

      Plaintiffs submit this supplemental memorandum as directed by the Court’s

February 18, 2025, Order (ECF 27). As explained below, the Court would benefit from

having access to the administrative record in resolving Plaintiffs’ motion for a

preliminary injunction. To the extent that Defendants assert that an administrative

record does not exist, the Court may wish to consider permitting expedited discovery

before deciding whether to issue a preliminary injunction.

      In American Bioscience, Inc. v. Thompson, 243 F.3d 579 (D.C. Cir. 2001), the

D.C. Circuit held that a district court may not deny a preliminary injunction on the

ground that a plaintiff is not likely to succeed on the merits without considering the

administrative record for the agency action under review. Id. at 246. As this Court

noted in its February 18 Order, the court held in that case that it was error for the

district court “to have relied on the parties’ written and oral representations to


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discern the basis on which the [agency] acted” because, without an administrative

record, a court “do[es] not know” the basis for the agency’s decision. Id.; see also

Afghan Yar Int’l Constr. Co. v. U.S. Dep’t of State, No. CV 21-1740 (CKK), 2021 WL

3472275, at *5 (D.D.C. Aug. 6, 2021) (directing agency to file administrative record

so the court could evaluate the motion for preliminary injunction).

      In this action, two of Plaintiffs’ claims seek review under the Administrative

Procedure Act (APA) of the Defendants’ action that permitted the so-called

Department of Government Efficiency (DOGE) to access sensitive personal and

financial information contained in agency records. Specifically, Counts I and II of the

complaint challenge the agency’s action as contrary to law and as arbitrary and

capricious. As in American Bioscience, the challenged action here constitutes an

“informal adjudication,” which “requires neither agency findings of fact nor

conclusions of law.” 243 F.3d at 246. Nonetheless, “to permit meaningful judicial

review, an agency must ‘disclose the basics’ of its action.” Dep’t of Commerce v. New

York, 588 U.S. 752, 780 (2019) (quoting Burlington Truck Lines, Inc. v. United States,

371 U.S. 156, 167–69 (1962)). The APA, moreover, requires the court to evaluate the

agency’s action based on “the whole record or those parts of it cited by a party.”

American Bioscience, 243 F.3d at 246 (quoting 5 U.S.C. § 706). Thus, in assessing the

likelihood of success, the Court must consider “the full administrative record that was

before the [agency] at the time [it] made its decision.” Id. (second bracket in original,

quoting Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971)).




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      In opposing Plaintiffs’ motion for a preliminary injunction, Defendants

submitted declarations from four individuals: (1) Thomas H. Krause, the DOGE team

lead at the Department of the Treasury; (2) Joseph Gioeli, III, the Deputy

Commissioner for Transformation and Modernization in the Bureau of the Fiscal

Service; (3) Michael J. Wenzler, Associate Chief Human Capital Officer for Executive

and Human Capital Services at the Departmental Offices of the Department of the

Treasury; and (4) Vona S. Robinson, Deputy Assistant Commissioner for Federal

Disbursement Services at the Bureau of the Fiscal Service. None of these individuals,

however, adopted the agency policy that is the subject of this lawsuit. Rather, the

complaint alleges, and Defendants’ have not disputed, that Secretary Bessent took

that action shortly after being sworn in as Treasury Secretary. Compl. ¶¶ 35–36.

Secretary Bessent has not submitted a declaration in this case (or in any of the other

cases relating to DOGE’s access to Bureau records) explaining the basis for his

decision. Left unaddressed, this “failure to explain administrative action” may

“frustrate effective judicial review.” Camp v. Pitts, 411 U.S. 138, 142–43 (1973); see

also Overton Park, 401 U.S. at 420 (“But since the bare record may not disclose the

factors that were considered or the Secretary’s construction of the evidence it may be

necessary for the District Court to require some explanation in order to determine if

the Secretary acted within the scope of his authority and if the Secretary’s action was

justifiable under the applicable standard.”).

      Defendants dispute the existence of an administrative record because they

contend that the challenged action is not final agency action. See Defs. Supp. Mem.



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3. But, again, Defendants have not disputed that the DOGE team was denied full

access to the Bureau’s records until Secretary Bessent intervened. See Compl. ¶¶ 35–

36. The administrative record should include, at a minimum, the documents and

information on which Secretary Bessent relied to reach his decision, as well as those

that describe how his decision would be carried out, e.g., the access given to the DOGE

team, guidance provided to protect personal information, and limits, if any, on the

DOGE team’s ability to share personal information outside of the agency. This record

evidence would aid the Court’s determination whether the challenged action likely

violates APA standards.

      To the extent that Defendants decline to furnish an administrative record, the

Court should consider expedited discovery as an alternative means for developing a

record for review. Recently, in a pending case involving DOGE’s access to Department

of Labor records, Judge Bates provided an opportunity, in advance of preliminary-

injunction briefing, for “expedited, targeted, and limited discovery” relevant to “the

core question[] … whether the defendants even took the actions (or established the

policies) that plaintiffs challenge,” as well as “theories of standing, likelihood of

success on the merits, and irreparable harm that turn on whether individuals not

permitted under the Privacy Act to view personal information are viewing or will view

that information.” Order, Am. Fed. of Labor & Cong. of Indus. Orgs v. Dep’t of Labor,

No. 25-339 (JDB) (D.D.C. Feb. 19, 2025), ECF 43. Likewise here, expedited discovery

would be consistent with the rule that a court may consult extra-record evidence

“where the administrative record is so deficient as to preclude judicial review,” Hill



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Dermaceuticals, Inc. v. FDA, 709 F.3d 44, 47 (D.C. Cir. 2013), or “if background

information [is] needed ‘to determine whether the agency considered all the relevant

factors,’” City of Dania Beach v. FAA, 628 F.3d 581, 590 (D.C. Cir. 2010) (quoting Am.

Wildlands v. Kempthorne, 530 F.3d 991, 1002 (D.C. Cir. 2008)).

      The cases on which Defendants rely do not require a different approach. In In

re United States, 583 U.S. 29 (2017), the agency had filed both a motion to dismiss

and an administrative record, and the Supreme Court held that the district court

should resolve the motion to dismiss before adjudicating disputes over the

completeness of the record and questions of privilege. Id. at 31–32. In American

Bankers Ass’n v. National Credit Union Administration, 271 F.3d 262 (D.C. Cir.

2001), no preliminary-injunction motion was at issue, and the court held that an

administrative record was not necessary because the case could be resolved through

purely statutory analysis. Id. at 266. Here, although Defendants correctly note that

some of their arguments in opposition to the preliminary-injunction motion can be

decided without an administrative record, the Court will need to consider the

administrative record if it rejects those arguments.

      In sum, rather than risk having to resolve the motion piecemeal, the Court

should direct Defendants to produce the administrative record or, alternatively,

provide for expedited discovery, so that the Court will have a record upon which it

can make a fully informed decision.




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Dated: February 20, 2025                 Respectfully submitted,

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